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 4
 5   Attorney for Defendant,
     ROBERTO MARTIN MENDOZA-BALLARDO
 6
 7
 8                           UNITED STATES DISTRICT COURT
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       )   CR. No. 1:10-cr-0419 LJO
                                                     )
12         Plaintiff,                                )
                                                     )
13                                                   )   NOTICE OF APPEAL,
           vs.                                       )   REQUEST FOR WAIVER
14                                                   )   OF FILING FEE ON
                                                     )   APPEAL AS DEFENDANT
15   ROBERTO MARTIN MENDOZA-                         )   IS INDIGENT;
     BALLARDO,                                       )   ORDER FOR
16                                                   )   WAIVER OF FILING FEE
                                                     )   ON APPEAL
17         Defendant.                                )
                                                 )
18
19         Defendant ROBERTO MARTIN MENDOZA-BALLARDO, through his
20   attorney KATHERINE HART, hereby files a NOTICE OF APPEAL to the Ninth
21   Circuit Court of Appeals from the judgment and commitment issued July 12, 2012.
22   Defendant was represented by CJA (Criminal Justice Act ) counsel at the district
23   court level, and counsel on appeal has been appointed by the district court for the
24   appeal; therefore defendant/appellant requests that he be relieved from the
25   requirement of paying filing fees on appeal.
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 2
 3         Dated: July 16, 2012             /s/Katherine Hart
                                            KATHERINE HART. Attorney at Law
 4
 5
 6         Dated: July 16, 2012             /s/Robert Martin Mendoza-Ballardo
                                              ROBERT MARTIN MENDOZA-
 7                                          BALLARDO, Defendant and Appellant.
 8
 9                                       ORDER
10
           CJA (Criminal Justice Act) counsel having been appointed to represent
11
     defendant ROBERT MARTIN MENDOZA-BALLARDO on appeal, it is hereby
12
     ordered that filing fees and costs for the appeal are hereby waived.
13
           IT IS SO ORDERED.
14
     Dated:     July 16, 2012               /s/ Lawrence J. O'Neill
15   66h44d                             UNITED STATES DISTRICT JUDGE
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